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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           Dallas Division



                                                §
                                                §
             Andrew S Lee                       §
Plaintiff                                       §
                                                §
v.                                              §      Civil Action No. 3:21-cv-01080-E
                                                §
                                                §
                                                §
  New Era Asset Management LLC                  §
Defendant                                       §




                           CLERK'S ENTRY OF DEFAULT

      The record reflects that service of the complaint has been made upon the Defendant
named below:
New Era Asset Management LLC




        It appears from the record that service of the complaint has been made, that the Defendant
has failed to answer or otherwise defend as directed within the time allowed, and that the Plaintiff
has shown that failure through affidavit or otherwise.

      Therefore, upon Plaintiff's request, DEFAULT is entered against the Defendant
named above.



                                                           KAREN S. MITCHELL, CLERK
                                                           U.S. DISTRICT COURT


                                                           s/ N. Taylor
                                                           By: Deputy Clerk on 7/28/2021
